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                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS,                            )
                                           )
                        Plaintiff,         )
      v.                                   )   No. 6:21-cv-00003
                                           )
UNITED STATES OF AMERICA, et al.           )
                                           )
                        Defendants.        )
__________________________________________)

                                           NOTICE
       In light of and in response to Paragraph 5 of this Court’s Scheduling Order (ECF No. 44),

Defendants file the attached declarations of (1) Peter B. Berg, Acting Deputy Executive Associate

Director, U.S. Department of Homeland Security, U.S. Immigration and Customs Enforcement,

Enforcement and Removal Operations, and (2) Jay Visconti, Director (Associate Chief) for the CBP

STAT Division within Operations Support, U.S. Customs and Border Protection, Department of

Homeland Security.


Dated: February 10, 2021                    Respectfully submitted,

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                                            Acting Assistant Attorney General

                                            AUGUST FLENTJE
                                            Special Counsel

                                            BRIGHAM J. BOWEN
                                            Assistant Branch Director

                                             /s/ Adam D. Kirschner
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                                            MICHAEL F. KNAPP
                                               -1-
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                                CERTIFICATE OF SERVICE
      I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on February 10, 2021.


                                             /s/ Adam D. Kirschner
                                             ADAM D. KIRSCHNER




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